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1    BENJAMIN B. WAGNER
     United States Attorney
2    MICHAEL M. BECKWITH
     Assistant U.S. Attorney
3    501 I St., Suite 10-100
     Sacramento, California 95814
4    Telephone: (916) 554-2729
5
6
7                    IN THE UNITED STATES DISTRICT COURT
8                   FOR THE EASTERN DISTRICT OF CALIFORNIA
9
10   UNITED STATES OF AMERICA,       )        No. 2:10-cr-00455-MCE
                                     )
11                    Plaintiff,     )
                                     )        MOTION TO DISMISS INDICTMENT
12                 v.                )        AND ORDER
                                     )
13   MANUEL PEREZ,                   )
                                     )
14                     Defendants.   )
     ________________________________)
15
16         Pursuant to Rule 48 of the Federal Rules of Criminal
17   Procedure, the United States of America, by and through its
18   undersigned attorney, moves this Court for an order dismissing
19   the indictment against Manuel Perez in Case No. S-10-455 MCE.
20   The indictment in this case was filed on October 21, 2010.             The
21   two-count indictment charged the defendant with violating 21
22   U.S.C. §§ 846 and 841(a)(1) – Conspiracy to Distribute Over 500
23   Grams of Methamphetamine and Possession with Intent to Distribute
24   Methamphetamine.    The government asks that the indictment be
25   dismisses without prejudice.
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27   ///
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1         This motion is made in the interest of justice in light of
2    evidence discovered post indictment regarding the defendant’s
3    participation in the conspiracy to distribute methamphetamine and
4    his involvement in the actual distribution of the methamphetamine
5    at issue in this case.
6         The defendant is currently being detained as a result of the
7    charges in the pending indictment.
8
9
10   DATE: December 27, 2010                BENJAMIN B. WAGNER
                                            United States Attorney
11
12                                     By: /s/ Michael M. Beckwith
                                           MICHAEL M. BECKWITH
13                                         Assistant U.S. Attorney
14
15
16                                  O R D E R
17
18   APPROVED AND SO ORDERED.
19
20
     Dated: January 5, 2011
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22                                    _____________________________
23                                    MORRISON C. ENGLAND, JR.
                                      UNITED STATES DISTRICT JUDGE
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